230 F.2d 786
    In the Matter of Howard D. MITCHELL.
    Misc. No. 482.
    United States Court of Appeals Ninth Circuit.
    October 24, 1955.
    
      Howard D. Mitchell, in pro. per.
      Before DENMAN, Chief Judge, and ORR and POPE, Circuit Judges.
      PER CURIAM.
    
    
      1
      Mitchell has filed a motion for leave to appeal his conviction to this court in forma pauperis. In denying Mitchell's similar motion the trial court certified that the appeal was not taken in good faith. This court cannot grant Mitchell's motion, as 28 U.S.C. § 1915 provides: "An appeal may not be taken in forma pauperis if the trial court certifies in writing that it is not taken in good faith." The motion is denied.
    
    